       Case 3:14-cr-00049-AWT Document 28 Filed 08/11/14 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA,                             :         Criminal No. 3:14CR00049(AWT)
                                                      :
v.                                                    :
                                                      :
DANIEL HAMLETT, JR.                                   :         August 11, 2014
                                                      :
------------------------------------------------------x

                           RENEWED MOTION FOR RELEASE ON BOND

        The defendant, Daniel Hamlett, Jr., previously filed a motion seeking release from custody

pending trial in this matter. On August 1, 2014, the Court conducted a hearing on the proposal. At

that time, the Court expressed concern that under the proposal as presented to the Court, there

would be no custodian available to be home with Mr. Hamlett while his mother was at work during

the day.

        One of the other proposed co-signers, Geneva Jackson, has now become available to serve as

a co-custodian with Mr. Hamlett’s mother. Ms. Jackson has arranged with her employers to adjust

her schedule if Mr. Hamlett is released so that she can come to his mother’s house each morning

and remain there with him until his mother returns from work in the afternoon.

        In light of this development, Mr. Hamlett respectfully contends that any concerns the Court

may have had about danger to the community can reasonably be addressed by release subject to

home confinement with two custodians, one of whom would be home with Mr. Hamlett at all times.

Accordingly, Mr. Hamlett hereby renews his request for release on bond.




                                                          -1-
      Case 3:14-cr-00049-AWT Document 28 Filed 08/11/14 Page 2 of 2




                                              Respectfully submitted,

                                              The Defendant,
                                              Daniel Hamlett, Jr.

                                              Office of the Federal Defender


Dated: August 11, 2014                        /s/ Sarah A. L. Merriam
                                              Sarah A. L. Merriam
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 11, 2014, a copy of the foregoing Motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.


                                                  /s/ Sarah A. L. Merriam
                                                     Sarah A. L. Merriam




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